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 5
     Attorney for Defendant
     HUANCHANG MA
 6
                               IN THE UNITED STATES DISTRICT COURT
 7
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                        )       No. CR-S-11-166 MCE
10
                                                      )
                                                      )
               Plaintiff,                             )       STIPULATION REGARDING
11
                                                      )       EXCLUDABLE TIME PERIODS
     v.                                               )       UNDER SPEEDY TRIAL ACT;
12
                                                      )       FINDINGS
     HUANCHANG MA,                                    )
13
                                                      )       Date: July 10, 2014
14
                                                      )       Time: 9:00 a.m.
               Defendant.                             )       Judge: Honorable Morrison C. England, Jr.
                                                      )
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                                                      )
                                                      )
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          The United States of America through its undersigned counsel, Christiaan Highsmith,
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     Assistant United States Attorney, together with counsel for defendant Huanchang Ma, John R.
20
     Manning, Esq., hereby stipulate the following:
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22        1. By previous order, this matter was set for status conference on June 26, 2014.

23        2. By this stipulation, defendant now moves to continue status conference until July 10,
24
     2014 and to exclude time between June 26, 2014 and July 10, 2014 under the Local Code T-4 (to
25
     allow defense counsel time to prepare).
26
          3.   The parties agree and stipulate, and request the Court find the following:
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28             a. This case is one in a series of cases developed from a lengthy DEA/Elk Grove

                   PD/Sac. SO investigation into “grow houses” in the Elk Grove area. Several
                                                          1
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        individuals have been charged. Many, if not all the defendants a part of this
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 2      investigation are non English speakers and require the services of an interpreter to

 3      communicated with. The widespread need for Cantonese/Mandarin interpreters in
 4
        this case, the companion cases(s), and in general, has made scheduling meetings very
 5
        difficult. However, as this case is winding up, scheduling has become less difficult.
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 7
     b. The government has proffered a proposed resolution to the defense and the defense

 8      needs additional time to review the settlement proposal. The government and counsel
 9      for Mr. Ma have discussed the proposed plea agreement in this matter extensively.
10
        As a result of these discussions/negotiations, the parties believe previous disputes as
11
        to the language and terms of the plea agreement dispute have largely been resolved.
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13   c. Mr. Ma lives in San Francisco area and speaks only Mandarin. Due to demands on

14      the interpreter’s schedule (as well as demands on my schedule), additional time is
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        needed by the defense to review the plea agreement with Mr. Ma, in his language, and
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        discuss the consequences of pleading guilty (including immigration concerns/issues)
17
        and sentencing issues. It is anticipated Mr. Ma will enter a change of plea on July 10,
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19      2014.

20   d. The government does not object to the continuance.
21
     e. Based on the above-stated findings, the ends of justice served by granting the
22
        requested continuance outweigh the best interests of the public and the defendant in a
23

24
        speedy trial within the original date prescribed by the Speedy Trial Act.

25   f. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
26      Section 3161(h)(7)(A) within which trial must commence, the time period of June 26,
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        2014, to July 10, 2014, inclusive, is deemed excludable pursuant to 18 United States
28
        Code Section 3161(h)(7)(A) ) and (B)(iv), corresponding to Local Code T-4 because

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                it results from a continuance granted by the Court at defendant’s request on the basis
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 2              of the Court’s finding that the ends of justice served by taking such action outweigh

 3              the best interest of the public and the defendant in a speedy trial.
 4
       4.   Nothing in this stipulation and order shall preclude a finding that other provisions of the
 5
            Speedy Trial Act dictate that additional time periods are excludable from the period within
 6

 7
            which a trial must commence.

 8   IT IS SO STIPULATED.
 9   Dated: June 23, 2014                                           /s/ John R. Manning
10
                                                                   JOHN R. MANNING
                                                                   Attorney for Defendant
11                                                                 Huanchang Ma
12
     Dated: June 23, 2014                                          Benjamin B. Wagner
13                                                                 United States Attorney

14                                                                 by:/s/ Christiaan Highsmith
                                                                   CHRISTIAAN HIGHSMITH
15
                                                                   Assistant U.S. Attorney
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17                                                ORDER
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            IT IS SO ORDERED.
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     Dated: June 25, 2014
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